
944 So.2d 249 (2006)
CITY OF MIAMI, Petitioner,
v.
Jose A. JUAREZ, et al., Respondents.
No. SC04-1406.
Supreme Court of Florida.
November 2, 2006.
*250 Robert S. Glazier, Miami, FL, Jorge L. Fernandez, City Attorney, Maria Joy Chiaro and Warren Bittner, Assistant City Attorneys, Miami, FL, for Petitioner.
Bennett H. Brummer, Public Defender, and John Eddy Morrison, Assistant Public Defender, Eleventh Judicial Circuit, Miami, FL, for Respondent.
PER CURIAM.
We have for review City of Miami v. Juarez, 875 So.2d 642 (Fla. 3d DCA 2004), in which the Third District Court of Appeal cited Mulligan v. City of Hollywood, 871 So.2d 249 (Fla. 4th DCA 2003), quashed, 934 So.2d 1238 (Fla.2006). By the time the Third District Court of Appeal's Juarez decision became final, Mulligan was pending review in this Court. We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418 (Fla. 1981).
The petition for review is granted. On the authority of our decision in City of Hollywood v. Mulligan, 934 So.2d 1238 (Fla.2006), the decision under review is quashed, and this matter is remanded to the Third District Court of Appeal for reconsideration upon application of this Court's decision in Mulligan.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, QUINCE, CANTERO, and BELL, JJ., concur.
